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                            Exhibit E:
Documentation for SCDC Essential Staff that Live
                  Out of State
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                  SCDC OUT OF STATE STAFF 000001
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                  SCDC OUT OF STATE STAFF 000002
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                  SCDC OUT OF STATE STAFF 000003
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                  SCDC OUT OF STATE STAFF 000004
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                  SCDC OUT OF STATE STAFF 000005
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                  SCDC OUT OF STATE STAFF 000006
